Case 1:17-cv-02461-EGS Document 1 Filed 11/15/17 Page 1 of 12

FILED

lN THE UN|TED STATES DlSTRlCT COURT NOV 1 5 2017

FOR THE DlSTRlCT OF COLUMB|A C|ark, U_S' D|str|ct & gankruptcy
Courts for the Dlstr|ct of Co|umb|a

George Webb Sweigart __ __)
<;/<5@2) H/… P.=w DH"/*-
Plaimifrs, C/% Prr<, :_ /'/c»r>/ /M D )

C>J‘?‘f 3

v- )
ANDREW MCCABE )
Former Director, FB| Case: 1:17-cv-02461 Jury Demand
935 Pennsy|vania Avenue, NW ) Ass!gned To :_Su||lvan, Emmet G_
Washington, D.C. 20535-0001 ASSIQF_\- Dafe- 11/15/2017 _ _

Descrlptlon: Pro Se Gen. Clvl| F Deck
JA|V|ES COMEY )
Former Director, FB|
935 Pennsy|vania Avenue, NW )

WaShington, D.C. 20535-0001

ROBERT S. MUELLER, ||| )
Former Director, FB|
935 Pennsy|vania Avenue, NW )

Washington, D.C. 20535-0001

ROD ROSENSTE|N )
Deputy Attorney Genera|

Department of Justice )
950 Pennsy|vania Ave.

Washington, D.C. 20530 )
ELA|NE DUKE )
Director, Dept of Home|and Security

800 K St NW #1000 )

WaShingtOn, D.C. 20'528

M|CHAEL HAYDEN, Former Director)
Nationa| Security Agency

9800 Savage Road, suite 6711 ) RECEIV E D

FOI'[ Meade, MD 20755-6711
NU\,.‘ 1 5 2511

_,.TL-»"!,. --51-`1- ""_':"F."",:..;.`."
ti-'_:-.-`{:{'{`!HE'_{`\-,' [_ '_.\.

Case 1:17-cv-O2461-EGS Document 1 Filed 11/15/17 Page 2 of 12

COMPLA|NT

The Defendants McCabe, Comey, Mue||er, and Rosenstein created a conspiracy to run an illicit
uranium smuggling operation on or about 2009 to now and and ongoing, including but not
limited to, the Pakistani lSl intelligence service under the color of law, and then used their
government positions and police powers to suppress disclosure, dissenl, and exposure of their
ongoing criminal activities by intimidating whistleblowers, press, and concerned citizens. The
Plaintiff sues Defendants, as individuals and in their official and unofficial capacities, for
violations when James Comey and Andrew McCabe were Directors of the Federal Bureau of
investigation (“FBI”) of the Plaintiff's constitutional and civil rights, invasion of privacy, including
illegal searches and seizures, physical invasion of their residences and places of business,
illegal detention as temporary false imprisonment, confiscation of property, intentional infliction
of emotional distress, harassment and intimidation, all preventing the Plaintiff's enjoyment of life,

liberty, and property. As grounds therefore, Plaintiffs allege as follows:

|. lNTRODUCT|ON AND NATURE OF THE ACT| N

1. This is a case of the abuse of false and fraudulent claims of national security to target critics
and silence criticism of government officials for the benefit of public officials to avoid
responsibility and accountability for their actions in government, by abusing false claims of
national security to harass and intimidate and harm the Plaintiff.

2. ln retaliation against the Plaintiff's for opposition to the establishment of a Joint Terrorism
Task Force unit within the Portland', Oregon Police Department, JTTF Special Agent in Charge
Andrew McCabe began compiling an illegal dossier against the Plaintiff, and false claims were

fabricated from this dossier for retaliation, illegal searches and seizures, physical invasion of his

Case 1:17-cv-O2461-EGS Document 1 Filed 11/15/17 Page 3 of 12

residences and places of business, temporary false imprisonment, the confiscation of their
property,, intentional infliction of emotional distress, harassment and intimidation.

3. ln retaliation against the Plaintiff's for opposition for the use of illegal wiretapping and the
testimony of criminal anonymous informants over a period of years, targeting a Somali teen
named Mohammad Mohammed, JTTF Special Agent in Charge, Andrew McCabe made false
claims in the Counter-Terrorism dossier of the Defendant for retaliation, illegal searches and
seizures, physical invasion of his residences and places of business, temporary false
imprisonment, the confiscation of their property, intentional infliction of emotional distress,
harassment and intimidation.

4. The Defendant Andrew McCabe falsely and fraudulently used the JTTF Counter-Terrorism
Watchlist to harass, intimidate, seize their propertyl and damage the Plaintiff after revealing and
illegal, “color of law” sex sting operation, upon information and belief, known as Operation
Underground Railroad, using former ClA and DHS employees in a private vigilante operation,
focused on asset seizure. The Plaintiff was a victim of this “color of law” operation with
informative turned operative, Janine Lindemuel|er.

5. The Defendant Andrew McCabe falsely and fraudulently used the JTTF Counter-Terrorism
Watchlist to harass, intimidate, seize their property, and damage the Plaintiff after revealing and
illegal, “color of law” uranium smuggling operation know as Uranium One, operating primarily
through the Port of Charleston, South Carolina including but not limited to, a trucking company
known as Transport Logistics near Ft. Meade, Maryland.

||. JUR|SD|CT|ON AND VENUE

7. This Court has subject matterjurisdiction over this action pursuant to 28 U.S.C. § 1331 and

18 U.S.C. §§ 2333 and 2334.

Case 1:17-cv-O2461-EGS Document 1 Filed 11/15/17 Page 4 of 12

8. This Court also has subject matterjurisdiction over this action pursuant to 28 U.S.C. § 1343
(a)(3) and 42 U.S.C. § 1983.

9. This Court also has subject matterjurisdiction over this action pursuant to 28 U.S.C. §
1332(a)(2) under diversity of citizenship. On information and belief the Plaintiffs and Defendants
herein are citizens of different states and thus diversity exists.

10. The amount in controversy exceeds $75,000. 11. Venue is proper for Defendants pursuant
to 28 U.S.C. § 1391(f)(4), 18 U.S.C. § 2334(a) and 28 U.S.C. §§ 1391(b) and 1391(d), because
the majority of the actions and omissions by the Defendants were undertaken within or initiated
from the District of Columbia.

lll. THE PART|ES

12. Plaintiff George Webb Sweigert is a fifty six year old father of two. He is a past long time
resident of Oregon and lndiana, and is in the process of moving to Washington, DC. His first 34
years of his career was spent in computer hardware and software sales, and in the last year, he
has become an independent, crowdsourced journalist.

13. Defendant Andrew McCabe is a past Director of the FB|, and currently the Deputy Director
of the FB| and was at times relevant to the acts and omissions at issue herein the Director for
the Federal Bureau of lnvestigation.

14. Defendant Robert Mue||er, lll is a past Director of the FB|, and currently the Special
Counsel to the Department of Justice and was at times relevant to the acts and omissions at
issue herein the Director for the Federal Bureau of lnvestigation.

15. Defendant James Comey is a past Director of the FB|, and currently a private citizen and
was at times relevant to the acts and omissions at issue herein the Director for the Federal

Bureau of lnvestigation.

Case 1:17-cv-O2461-EGS Document 1 Filed 11/15/17 Page 5 of 12

16. Defendant Michael Hayden is a past Director of the NSA, and currently a private citizen and
was at times relevant to the acts and omissions at issue herein the Director for the National
Security Administration.

17. Defendant Elaine is the current Director of the Department of Home|and Security, and was
at times relevant to the acts and omissions at issue herein the Director for the Federal Bureau of

lnvestigation.

|V. FACTS COMMON TO ALL COUNTS

18. The Defendants acting in concert and each of them individually have conspired and
contributed to false accusations against the Plaintiffs causing illegal searches and seizures
against the Plaintiffs and other injuries. The harm against the Plaintiffs was also carried out by
many other government officials and personnel who were only acting on the orders of and
misinformation from the Defendants, including line FB| and JTTF Special Agents.

19. The Plaintiff is the victim of illegal retaliation, illegal searches and seizures, malicious
prosecution and/or investigation, abuse of process, and invasion of privacy, in retaliation for their
efforts to hold government and government officials responsible for their actions.

20. Unknown to the Plaintiff in late 2010, the Defendants engage in the collection, storage, and
analysis of communications of the Plaintiff in an illegal dossier, misusing the Counter-Terrorism
Watchlist in a political reprisal against the Plaintiff for opposing JTTF in the Portland, Oregon
Police Force.

21. Unknown to the Plaintiff after 2010, the Defendants used a series of “color of law”
entrapments, targeting US citizens including the Plaintiff. The Counter-Terrorism Watchlist was

used for political reprisal against the Plaintiff for protesting these methods of entrapment for a

Case 1:17-cv-O2461-EGS Document 1 Filed 11/15/17 Page 6 of 12

young Somali student named Mohammad Mohammed in Portland, Oregon in the years leading
up to the Christmas Tree lighting in Pioneer Square in Portland, Oregon in 2010.

22. ln June 15thl 2010, Plaintiff Sweigert was electronically hunted down by JTl'F after viewers
of a television news show l participated in called the US Coast Guard. ln the broadcast, l had
exposed an illegal uranium trade through the Port of Charleston, and l identified an Awan spy
ring in Congress that was monitoring this illegal trade through facilities at DHS and D|SA
facilities in and around Springfield, Virginia on behalf of JTTF. After fully participating in the
investigation by the US Coast Guard, US Customs and Border Patrol, and Department of
Home|and Security, through five phone calls, and entrapment scheme was devised to set up my
arrest and false imprisonment was set up by Special Agent Pettyjohn of Blacksburg, Virginia
and JTTF Special Agent. A parallel construction of the events were then communicated by one
or both of these agents, either directly or through surrogates, to Kevin Mele of the New York
Times and Donie O'Sullivan of CNN.

23. At no time did the Defendants have probable cause to engage in searches or seizures of the
Plaintiffs’ property, documents, records, or papers, detain them, or invade their residences or
places of business or initiate electronic surveillance searches.

24. Furthermore, the searches were not conducted so as to be remotely targeted with any
particularity to even the subject matter of the false affidavit used to justify the searches. The
searches conducted were open-ended fishing expeditions unrelated to any probable cause.

25. The Defendant’s harassment of the Plaintiffs was never based on any probable cause,
plausible justification, and was knowingly false and was motivated purely by retaliation.

26. The Defendant's harassment of the Plaintiffs was open-ended and unlimited and not limited

to investigation or searches or seizures supported by probable cause.

Case 1:17-cv-O2461-EGS Document 1 Filed 11/15/17 Page 7 of 12

27. Moreover, as later revealed by Edward Snowden, the NSA was even then, with the
assistance of cooperating telephone and telecommunications companies, conducting mass
interception and surveillance of all telephone calls within the domestic United States for the very
purpose - at least so they claimed - of detecting both external and internal threats against the
national security of the United States.
V. CAUSES OF ACT|ON

F|RST A SE OF ACT|ON
Fourth Amendment Violation: lllegal Searches and Seizures (Bivens v. VI Unknown
Named Agents of Federal Bureau of Narcotics)
28. The Defendants in concert and each of them individually knowingly, willfully, and
intentionally retaliated against the Plaintiffs in retaliation for the Plaintiffs reporting entrapment
and asset seizure schemes through DHS such as Operation Underground Railroad, illegal
uranium smuggling, bad government decisions in the mishandling of taxpayer funds and
trampling the rights of citizens. Plaintiffs enjoy a liberty interest in their persons, papers,
documents, records, residences, and places of business against unreasonable searches and
seizures by the government without due process of lawl as guaranteed by the Fourth
Amendment to the U.S. Constitution.
29. At no time did the Defendants have probable cause sufficient to justify the searches and
seizures of their property, papers, documents, records, residences, or places of business.
30. On the contrary, the Defendants acted with willful and knowing hostility to retaliate against
the Plaintiffs for criticism of the waste of taxpayer funds, and to silence, intimidate, threaten, and
harm the Plaintiffs. 69. The violations of this liberty interest are compensable under Bivens v. V|

Unknown Named Agents of Federal Bureau of Narcotics, 403 U.S. 388 (1971).

Case 1:17-cv-O2461-EGS Document 1 Filed 11/15/17 Page 8 of 12

_SE_CQMCMEOFAM
Fifth Amendment Violation: IIIegaI Detention as False Imprisonment (Bivens v. VI
Unknown Named Agents of Federal Bureau of Narcotics).
31. Plaintiffs repeat and re-allege each and every allegation of the foregoing paragraphs as if
fully set forth herein.
32. Plaintiffs enjoy a liberty interest in their persons of not being deprived of liberty by actions of
the government without due process of law, as guaranteed by the Fifth Amendment to the U.S.
Constitution.
33. At no time did the Defendants, each and every one of them acting in concert, have probable
cause suchient to justify the searches and seizures of the Plaintiffs’ property, papers,
documents, records, residences, or places of business, nor to detain or question the Plaintiffs in
association with those searches. On the contrary, the Defendants acted with willful and knowing
hostility to retaliate against the Plaintiff for exposing reprisal programs such as Operation
Underground Railroad, illegal uranium smuggling schemes, and for criticism of the waste of
taxpayer funds, and to silence, intimidate, threaten, and harm the Plaintiffs.
34. Unlawful detention for even short periods contrary to law is false imprisonment. The
Plaintiff's two days of false imprisonment was compounded by a parallel construction released
to the New York Times and CNN.
35. The Defendants directly and indirectly caused the illegal detention, restraint, and temporary
imprisonment of the Plaintiffs in association with the raids on their homes and/or places of
businesses.
36. The violations of this liberty interest are compensable under Bivens v. Vl Unknown Named

Agents of Federal Bureau of Narcotics, 403 U.S. 388 (1971).

Case 1:17-cv-O2461-EGS Document 1 Filed 11/15/17 Page 9 of 12

THlRD CAUSE OF ACT|ON

Fifth Amendment Violation: Deprivation of Free Speech Under the First Amendment
(Bivens v. VI Unknown Named Agents of Federal Bureau of Narcotics)
37. Plaintiffs repeat and re-allege each and every allegation of the foregoing paragraphs as if
fully set forth herein.
38. Plaintiffs enjoy a liberty interest in their persons of not being deprived of their rights of free
speech, including exposing political illegal uranium smuggling schemes, reprisal schemesl color
of law asset seizure scheme such as Operation Underground Railroad, and criticizing bad
government decisions, as guaranteed by the First Amendment to the U.S. Constitution.
39. The Defendants violated the constitutional and civil rights of the Plaintiffs by attempting to
charge them with conspiracy and for years to impede their free association with each other as
well as chill exercise of Plaintiff's First Amendment right to free speech, most especially political
speech criticizing illegal uranium smuggling schemes and asset seizure schemes such as
Operation Underground Railroad, in retaliation for their prior exercise of such political speech.

FOURTH CAUSE OF AQTlON
Deprivation of Civil Rights: First Amendment and Due Process Rights (42 U.S.C. §1983
and 42 U.S.C. §1985)
40. Plaintiffs repeat and re-allege each and every allegation of the foregoing paragraphs as if
fully set forth herein.
41. The Defendants’ actions and their omissions with regard to their duties to act constitute
knowing and intentional deprivation of the Plaintiffs rights by government action, including in
discrimination, with the intent to chill, and in retaliation and punishment for the exercise of the
Plaintiffs’ First Amendment rights to criticize illegal uranium smuggling schemes, reprisal

schemes, and asset seizure schemes such as Operation Underground Railroad.

Case 1:17-cv-O2461-EGS Document 1 Filed 11/15/17 Page 10 of 12

42. By the acts and omissions of the Defendants described above, the Defendants and each of
them individually deprived the Plaintiffs of his constitutional rights to equal protection of the laws
and equal privileges guaranteed by the First Amendment to the United States Constitution, as
reinforced by the Fourteenth Amendment.
43. By the acts and omissions of the Defendants described above, the Defendants and each of
them individually deprived the Plaintiffs of their constitutional rights.
44. At all times relevant to this Complaint, the Defendants and each of them individually acted
willfully and intentionally to violate the Plaintiffs’ civil and constitutional rights and/or acted with
reckless disregard of whether their conduct violated the Plaintiffs’ civil and constitutional rights.
45. ln the actions described above, the Defendants and each of them individually violated the
provisions of 42 U.S.C. 1983 to the injury of the Plaintiffs.
46. The Defendants conspired with one another to violate the civil and constitutional rights of the
Plaintiffs and in so doing violated the provisions of 42 U.S.C. §1983 and 42 U.S.C. §1985 to the
injury of the Plaintiffs.

_F|FT|'|C»°\USE_M
Intentional Infliction of Emotional Distress
47. Plaintiffs repeat and re-allege each and every allegation of the foregoing paragraphs as if
fully set forth herein.
48. The Defendants knowingly and intentionally acted to threaten, intimidate, frighten, and harm
the Plaintiffs including to chill, retaliate against and punish the Plaintiffs for the exercise of the
Plaintiffs’ First Amendment rights to criticize bad government decisions.
49. The Defendants harmed the Plaintiffs out of spite, bitterness, anger, and animosity in

retaliation for the Plaintiffs’ criticism of the “color of law" entrapment scheme such as Operation

Case 1:17-cv-O2461-EGS Document 1 Filed 11/15/17 Page 11 of 12

Underground Railroad and illegal, “color of law”, uranium smuggling schemes known as
Uranium One.
50. Defendants’ actions and omissions were intended to frighten, threaten, intimidate, and
manipulate the Plaintiffs by causing them emotional distress.actions and omissions were willful
malicious, deliberate, or were done with reckless indifference to the likelihood that such
behavior would cause severe emotional distress and with utter disregard for the consequences
of such actions.
51. Defendant’s conduct is unreasonable and outrageous and exceeds the bounds tolerated by
decent society, and was done willfully, maliciously and deliberately, or with reckless indifference,
to cause Plaintiffs severe mental and emotional pain, distress, and anguish and loss of
enjoyment of |ife.

S|XTH CAUSE OF ACT|ON
Abuse of Process
52. Plaintiffs repeat and re-allege each and every allegation of the foregoing paragraphs as if
fully set forth herein.
53. The Defendants committed the tort of abuse of process against the Plaintiffs by using legal
process in law enforcement and in the courts not for legitimate purposes or based upon
probable cause but out of retaliation, spite, bitterness, anger, and animosity due to the Plaintiffs’
criticism of the “color of law" entrapment schemes such as Operation Underground Railroad and
illegal,"color of law” smuggling schemes such as Uranium One..
Vl. PRAYER FOR RELlEF
With regard to all counts, Plaintiff demands that judgment be entered against Defendants each
and every one of them for compensatory and actual damages because of his demonstrable

personal, professional, financial, physical and emotional injury to Plaintiffs, punitive damages in

Case 1:17-cv-O2461-EGS Document 1 Filed 11/15/17 Page 12 of 12

excess of $10 million because of Defendants’ callous and reckless indifference and malicious
acts, and attorneys fees, costs, an award in excess of $2.5 million for each Plaintiff in lost wages
and employment and other costs, or in excess of $12.5 million for the Plaintiff, in an amount to
be determined by the jury, equitable relief in the form of preliminary and permanent injunctions,
and such other relief the Court may deem just and proper.

JURYDM
Plaintiffs respectfully demand a jury trial on all issues so triable. Dated: November15TH, 2017
Respectfully submitted,

/s/George Webb Sweigert

8850 Hampton Mall Drive
Capitol Heights, MD 20743
(503) 919-0748

georg.webb@gmail.com

Pro Se Attorney for Plaintiff

